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 2                                    UNITED STATES DISTRICT COURT

 3                                    EASTERN DISTRICT OF CALIFORNIA

 4

 5   United States of America,                         No. 2:15-cr-00190-GEB
 6                       Plaintiff,
 7           v.                                        Order
 8   George B. Larsen,
 9                       Defendant.
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11           The parties filed a stipulation on October 1, 2018, which is construed as their agreement

12   that Defendant George Larsen’s appellate counsel may obtain a transcript of the December 8,

13   2017 in camera hearing prepared for whatever costs is applicable to his ordering of and receipt of

14   the transcript. The court reporter is authorized to prepare the referenced transcript of the

15   December 8, 2017 in camera hearing and to provide a copy to Mr. Larsen’s appellate counsel

16   Kurt Hermansen.

17           Further, George Larsen shall show cause as soon as practical after review of the transcript

18   why the transcript should not be made available on the public docket as such transcripts are

19   typically filed. Cf. United States v. Seugasala, 670 F. App'x 641, 641 (9th Cir. 2016)

20   (unpublished) (“The district court ha[s] . . . inherent discretionary power to seal or unseal record

21   items . . . for the purpose of maximizing judicial economy [and] aid[ing the appellate court] in

22   [its] review.”).

23           Dated: October 2, 2018

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